                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.258 Page 1 of 9



                                      1   HAZEL MAE B. PANGAN (SBN: 272657)
                                          hpangan@grsm.com
                                      2   GORDON REES SCULLY MANSUKHANI, LLP
                                          101 W. Broadway, Suite 2000
                                      3   San Diego, CA 92101
                                          Telephone: (619) 230-7479
                                      4   Facsimile: (619) 696-7124
                                      5   DAMON W.D. WRIGHT
                                          (pro hac vice application to be filed)
                                      6   dwright@grsm.com
                                          1101 King St., Suite 520
                                      7   Alexandria, VA 22314
                                          Telephone: (202) 399-1009
                                      8   Facsimile: (202) 800-2999
                                      9   Attorneys for Defendants
                                          The Control Group
                                     10   Media Company, LLC, Instant
                                          Checkmate, LLC, and TruthFinder, LLC
                                     11
Gordon Rees Scully Mansukhani, LLP




                                     12                         UNITED STATES DISTRICT COURT
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13                       SOUTHERN DISTRICT OF CALIFORNIA
                                     14
                                     15   CHRISTOPHER BENTLEY, NICHOLAS                  )   CASE NO. 19-cv-2437 DMS
                                          LONGO, HENDRY IDAR III, VINCENT                )   RBB
                                     16   HARDY, JESUS SANCHEZ, and TARYN                )
                                          MITCHELL, on behalf of themselves and of       )
                                     17   others similarly situated,                     )   DECLARATION OF
                                                                                         )   ANDREW JOHNSON IN
                                     18                             Plaintiffs,          )   SUPPORT OF
                                                                                             DEFENDANTS’ MOTION TO
                                     19         vs.                                      )   COMPEL ARBITRATION
                                                                                         )
                                     20   THE CONTROL GROUP MEDIA                        )
                                          COMPANY, INC., INSTANT                         )
                                     21   CHECKMATE, LLC, TRUTHFINDERS,                  )
                                          LLC,                                           )
                                     22                                                  )
                                                                    Defendants.          )
                                     23
                                     24                     DECLARATION OF ANDREW JOHNSON
                                     25         I, Andrew Johnson, declare as follows:
                                     26         1.     I make this declaration in support of the motion to compel arbitration
                                     27   on behalf of Instant Checkmate, LLC, TruthFinder LLC, and The Control Group
                                     28   Media Company LLC (collectively “Defendants”). The facts stated herein are
                                                                              -1-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.259 Page 2 of 9



                                      1   within my personal knowledge, unless otherwise stated or apparent. If called upon
                                      2   to testify to the following facts, I could and would testify competently to the
                                      3   following.
                                      4         2.     I am an Application Developer for The Control Group Media
                                      5   Company, LLC. In my capacity as Application Developer, I have access to
                                      6   Defendants’ information systems and databases.
                                      7         3.     The Control Group Media Company, LLC does not own
                                      8   InstantCheckmate.com or TruthFinder.com but rather is a related company that
                                      9   provides technical and operational support to Instant Checkmate and TruthFinder.
                                     10         4.     Instant Checkmate received an opt-out notice from Easy Expunctions
                                     11   on behalf of Christopher Bentley on June 13, 2018. This notice is attached hereto
Gordon Rees Scully Mansukhani, LLP




                                     12   as Exhibit A.
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13         5.     TruthFinder received an opt-out notice from Easy Expunctions on
                                     14   behalf of Christopher Bentley on June 13, 2018. This notice is attached hereto as
                                     15   Exhibit B.
                                     16         6.     Instant Checkmate received an opt-out notice from Easy Expunctions
                                     17   on behalf of Nicholas Longo on May 8, 2018. This notice is attached hereto as
                                     18   Exhibit C.
                                     19         7.     TruthFinder received an opt-out notice from Easy Expunctions on
                                     20   behalf of Nicholas Longo on May 8, 2018. This notice is attached hereto as
                                     21   Exhibit D.
                                     22         8.     Instant Checkmate received three opt-out notices from Easy
                                     23   Expunctions on behalf of Henry Idar III on April 1, 2019 and May 1, 2018. These
                                     24   notices are attached hereto as Exhibit E.
                                     25         9.     TruthFinder received three opt-out notices from Easy Expunctions on
                                     26   behalf of Henry Idar III on April 1, 2018. These notices are attached hereto as
                                     27   Exhibit F.
                                     28   ///
                                                                                      -2-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.260 Page 3 of 9



                                      1         10.    Instant Checkmate received an opt-out notice from Easy Expunctions
                                      2   on behalf of Vincent Hardy on May 18, 2018. This notice is attached hereto as
                                      3   Exhibit G.
                                      4         11.    TruthFinder received an opt-out notice from Easy Expunctions on
                                      5   behalf of Vincent Hardy on May 18, 2018. This notice is attached hereto as
                                      6   Exhibit H.
                                      7         12.    Instant Checkmate received two opt-out notices from Easy
                                      8   Expunctions on behalf of Jesus Sanchez on July 3, 2018 and September 24, 2018.
                                      9   These notice are attached hereto as Exhibit I.
                                     10         13.    TruthFinder received two opt-out notices from Easy Expunctions on
                                     11   behalf of Jesus Sanchez on July 3, 2018 and September 24, 2018. Theses notice
Gordon Rees Scully Mansukhani, LLP




                                     12   are attached hereto as Exhibit J.
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13         14.    Instant Checkmate received an opt-out notice from Easy Expunctions
                                     14   on behalf of Taryn Mitchell-Daniels on June 16, 2018. This notice is attached
                                     15   hereto as Exhibit K.
                                     16         15.    TruthFinder received an opt-out notice from Easy Expunctions on
                                     17   behalf of Taryn Mitchell-Daniels on June 16, 2018. This notice is attached hereto
                                     18   as Exhibit L.
                                     19         16.    On October 26, 2018, Reid Jonkers, who I understand to be employed
                                     20   by Easy Expunctions, opened an account with Instant Checkmate using the email
                                     21   address reid.jonkers@yahoo.com.
                                     22         17.       In connection with becoming a subscriber to Instant Checkmate, all
                                     23   subscribers, including Mr. Jonkers, accept Instant Checkmate’s Terms of Use in at
                                     24   least two places—the “Save Your Results Page” and the “Checkout Page” as
                                     25   illustrated below:
                                     26   ///
                                     27   ///
                                     28   ///
                                                                                    -3-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.261 Page 4 of 9



                                      1                    Instant Checkmate “Save Your Results” Page
                                      2
                                                                                                Save Your Results
                                      3                                                               First Name:                 Last Name:
                                                                                                                                                              a

                                      4
                                      5
                                      6
                                                                         O       Norten
                                                                                 SECURED
                                                                           oc.cred oy Alter(
                                                                                                               SAVE

                                      7
                                                                         By clicking 'Save' you represent that you are over 18 years of age and
                                      8                                  have agreed to our let no of use, privacy polity, and limited license for
                                                                         services and you agree to receive email from Instant Checkmate


                                      9
                                     10
                                                                          ,A   PIA=   do not Refresh. Close. or Press the Bad button on this Rage cr LT)tif
                                                                                                        furinationmay be lost
                                     11
Gordon Rees Scully Mansukhani, LLP




                                     12
   101 W. Broadway, Suite 2000




                                                                 Screenshot from InstantCheckmate.com
       San Diego, CA 92101




                                     13
                                     14                           Instant Checkmate’s Checkout Page
                                     15
                                     16                     By clicking "Checkout: you agree to provide your electronic signature authorizing
                                                            Instant Checkmate to charge your card as described in the Billing Terms, including
                                                            for the automatic renewal of your membership, until you cancel. I agree to the
                                     17                     Instant Checkmate Ter ms of Use. Limited License. and Privacy Policy.

                                                            I understand and agree that Instant Checkmate is not a -consumer reporting
                                     18                     agency: as defined in the Pair Credit Reporting Act (15 U.S.C. 5 1681, et secil
                                                            ("PCRA-} and does not provide -consumer re arts" as defined in FCRA. I understand
                                     19                     and represent that l am not purchasing and will not use Instant Checkmate's
                                                            products or services for any purpose in connection with determining a person's
                                                            eligibility for credit, insurance. employment or for any other eligibility
                                     20                     determination subiect to FORA.

                                     21
                                     22                                                  CHECKOUT
                                     23
                                     24                          Screenshot from InstantCheckmate.com
                                     25
                                     26         18.    Instant Checkmate’s Terms of Use contain the following arbitration
                                     27   provision:
                                     28   ///
                                                                                                              -4-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.262 Page 5 of 9



                                      1            EXCEPT WHERE PROHIBITED BY LAW, YOU AND
                                                   INSTANT CHECKMATE UNDERSTAND AND
                                      2            AGREE THAT ALL CLAIMS, DISPUTES OR
                                                   CONTROVERSIES BETWEEN YOU AND INSTANT
                                      3            CHECKMATE,     ITS   PARENTS,    AFFILIATES,
                                                   SUBSIDIARIES    OR    RELATED    COMPANIES
                                      4            (INCLUDING DISPUTES AGAINST ANY AGENT,
                                                   EMPLOYEE,       SUBSIDIARY,       AFFILIATE,
                                      5            PREDECESSOR IN INTEREST, SUCCESSOR, OR
                                                   ASSIGN OF THE OTHER) RELATING TO THE
                                      6            SITES, THE INFORMATION AND MATERIALS
                                                   PUBLISHED BY INSTANT CHECKMATE ON OR
                                      7            THROUGH THE SITES, ANY TRANSACTION OR
                                                   RELATIONSHIP BETWEEN US RESULTING FROM
                                      8            YOUR USE OF THE SITES, COMMUNICATIONS
                                                   BETWEEN US, OR THE PURCHASE, ORDER, OR
                                      9            USE OF OUR MEMBERSHIP PLANS, THE
                                                   INFORMATION PROVIDED IN CONNECTION
                                     10            WITH OUR MEMBERSHIP PLANS, AND YOUR USE
                                                   OF OUR SERVICES, INCLUDING, WITHOUT
                                     11            LIMITATION, TORT AND CONTRACT CLAIMS,
Gordon Rees Scully Mansukhani, LLP




                                                   CLAIMS BASED UPON ANY FEDERAL, STATE OR
                                     12            LOCAL STATUTE, LAW, ORDER, ORDINANCE OR
   101 W. Broadway, Suite 2000




                                                   REGULATION,      AND     THE    ISSUE     OF
       San Diego, CA 92101




                                     13            ARBITRABILITY, SHALL BE RESOLVED BY THE
                                                   FINAL     AND      BINDING     ARBITRATION
                                     14            PROCEDURES SET BELOW.          THE PARTIES
                                                   ACKNOWLEDGE AND AGREE THAT ANY SUCH
                                     15            CLAIMS SHALL BE BROUGHT SOLELY IN THE
                                                   PARTY'S INDIVIDUAL CAPACITY, AND NOT AS A
                                     16            PLAINTIFF OR CLASS MEMBER IN ANY
                                                   PURPORTED       CLASS,      REPRESENTATIVE
                                     17            PROCEEDING,     OR     PRIVATE    ATTORNEY
                                                   GENERAL CAPACITY. THE PARTIES FURTHER
                                     18            AGREE THAT THE ARBITRATOR MAY NOT
                                                   CONSOLIDATE MORE THAN ONE PERSON'S
                                     19            CLAIMS, AND MAY NOT OTHERWISE PRESIDE
                                                   OVER ANY FORM OF A REPRESENTATIVE OR
                                     20            CLASS    PROCEEDING.         THE    PARTIES
                                                   VOLUNTARILY AND KNOWINGLY WAIVE ANY
                                     21            RIGHT THEY HAVE TO A JURY TRIAL. ANY
                                                   CONTROVERSY CONCERNING WHETHER A
                                     22            DISPUTE    IS    ARBITRABLE     SHALL     BE
                                                   DETERMINED BY THE ARBITRATOR AND NOT
                                     23            BY THE COURT. JUDGMENT UPON ANY AWARD
                                                   RENDERED BY THE ARBITRATOR MAY BE
                                     24            ENTERED BY A CALIFORNIA STATE OR
                                                   FEDERAL    COURT     HAVING    JURISDICTION
                                     25            THEREOF. THIS ARBITRATION CONTRACT IS
                                                   MADE PURSUANT TO A TRANSACTION IN
                                     26            INTERSTATE      COMMERCE        AND      ITS
                                                   INTERPRETATION,                APPLICATION,
                                     27            ENFORCEMENT          AND       PROCEEDINGS
                                                   HEREUNDER SHALL BE GOVERNED BY THE
                                     28            FEDERAL ARBITRATION ACT (“FAA”).
                                                                        -5-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.263 Page 6 of 9



                                      1         A true and correct copy of Instant Checkmate’s Terms of Use are attached
                                      2   hereto as Exhibit M.
                                      3         19.   In connection with becoming a subscriber to TruthFinder, all
                                      4   subscribers accept TruthFinder’s Terms of Use in at least two places—the “Save
                                      5   Your Results Page” and the “Checkout Page” as illustrated below:
                                      6                          TruthFinder “Save Your Results” Page
                                      7                                ave Your Results

                                      8                                      stsei        >                        >




                                      9
                                                                                                              John
                                                                                                              Smith
                                     10
                                     11
Gordon Rees Scully Mansukhani, LLP




                                                                            Please provide your email to continue to your report
                                                                                Email:

                                     12
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13                                                          CONTINUE TO REPORT

                                                                              ckitiftit "CoMin. to14'40,1.represent Mat", weaver to years °. age arid have
                                     14                                   'greed :0 OW tc, n, 43e.      176.4Y.ind YCu agree to WOK ,enta born Truthrincierce
                                                                                                        Its rearketire wenn_



                                     15                                        Peitz. do rot Rolqtris. COM.. Press the          bu=,
                                                                                                       r,,eomorson fray re kcst


                                     16                                                                                                                         `
                                                                      Screenshotfrom TruthFinder.com
                                     17
                                     18                                  TruthFinder Checkout Page
                                     19
                                                            By clicking "Checkout. you agree to provide your electronic signature authorizing
                                     20                     Instant Checkmate to charge your card as described in the BillIng Terms, including
                                                            for the automatic renewal of your membership, until you cancel. I agree to the
                                     21                     Instant Checkmate Terms of Use. Limited License. and Privacy Policy.

                                                            I understand and agree that Instant Checkmate is not a 'consumer reporting
                                     22                     agency. as defined in the Fair Credit Reporting Act (15 U.S.C. § 1681. et seq.)
                                                            f FCRA") and does not provide "consumer reports'. as defined in FCRA. I understand
                                                            and represent that I am not purchasing and will not use Instant Checkmate'S
                                     23                     products or services for any purpose in connection with determining a person's
                                                            eligibility for credit. insurance. employment or for any other eligibility
                                     24                     determination subject to FCRA


                                     25
                                     26                                                   CHECKOUT
                                     27
                                     28                               Screenshot from TruthFinder.com
                                                                                                                -6-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.264 Page 7 of 9



                                      1         20.    TruthFinder’s Terms of Use contain the following arbitration
                                      2   provision:
                                      3                EXCEPT WHERE PROHIBITED BY LAW, YOU AND
                                                       THE COMPANY AGREE THAT ALL CLAIMS,
                                      4                DISPUTES OR CONTROVERSIES BETWEEN YOU
                                                       AND THE COMPANY (INCLUDING DISPUTES
                                      5                AGAINST ANY AGENT EMPLOYEE, SUBSIDIARY,
                                                       AFFILIATE,    PREDECESSOR     IN    INTEREST,
                                      6                SUCCESSOR, OR ASSIGN OF THE OTHER), ITS
                                                       PARENTS, AFFILIATES, SUBSIDIARIES OR
                                      7                RELATED COMPANIES, RELATING TO OUR
                                                       WEBSITES, THE SERVICES AND MATERIALS
                                      8                PUBLISHED BY THE COMPANY ON OR THROUGH
                                                       THE WEBSITES, ANY TRANSACTION OR
                                      9                RELATIONSHIP BETWEEN US RESULTING FROM
                                                       YOUR      USE      OF      OUR     WEBSITES,
                                     10                COMMUNICATIONS BETWEEN US, OR THE
                                                       PURCHASE, ORDER, OR USE OF OUR
                                     11                MEMBERSHIP PLANS, THE INFORMATION
Gordon Rees Scully Mansukhani, LLP




                                                       PROVIDED IN CONNECTION WITH OUR
                                     12                BACKGROUND INFORMATION SERVICES, AND
   101 W. Broadway, Suite 2000




                                                       YOUR     USE     OF      OUR    BACKGROUND
       San Diego, CA 92101




                                     13                INFORMATION        SERVICES,      INCLUDING,
                                                       WITHOUT LIMITATION, TORT AND CONTRACT
                                     14                CLAIMS, CLAIMS BASED UPON ANY FEDERAL,
                                                       STATE OR LOCAL STATUTE, LAW, ORDER,
                                     15                ORDINANCE OR REGULATION, AND THE ISSUE
                                                       OF ARBITRABILITY, SHALL BE RESOLVED BY
                                     16                THE FINAL AND BINDING ARBITRATION
                                                       PROCEDURES SET BELOW.           THE PARTIES
                                     17                ACKNOWLEDGE AND AGREE THAT ANY SUCH
                                                       CLAIMS SHALL BE BROUGHT SOLELY IN THE
                                     18                PARTY'S INDIVIDUAL CAPACITY, AND NOT AS A
                                                       PLAINTIFF OR CLASS MEMBER IN ANY
                                     19                PURPORTED        CLASS,      REPRESENTATIVE
                                                       PROCEEDING,     OR      PRIVATE    ATTORNEY
                                     20                GENERAL CAPACITY. THE PARTIES FURTHER
                                                       AGREE THAT THE ARBITRATOR MAY NOT
                                     21                CONSOLIDATE MORE THAN ONE PERSON'S
                                                       CLAIMS, AND MAY NOT OTHERWISE PRESIDE
                                     22                OVER ANY FORM OF A REPRESENTATIVE OR
                                                       CLASS    PROCEEDING.          THE     PARTIES
                                     23                VOLUNTARILY AND KNOWINGLY WAIVE ANY
                                                       RIGHT THEY HAVE TO A JURY TRIAL. ANY
                                     24                CONTROVERSY CONCERNING WHETHER A
                                                       DISPUTE    IS    ARBITRABLE      SHALL     BE
                                     25                DETERMINED BY THE ARBITRATOR AND NOT
                                                       BY THE COURT. JUDGMENT UPON ANY AWARD
                                     26                RENDERED BY THE ARBITRATOR MAY BE
                                                       ENTERED BY A CALIFORNIA STATE OR
                                     27                FEDERAL    COURT     HAVING     JURISDICTION
                                                       THEREOF. THIS ARBITRATION CONTRACT IS
                                     28                MADE PURSUANT TO A TRANSACTION IN
                                                                             -7-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.265 Page 8 of 9



                                      1                  INTERSTATE     COMMERCE      AND     ITS
                                                         INTERPRETATION,             APPLICATION,
                                      2                  ENFORCEMENT       AND       PROCEEDINGS
                                                         HEREUNDER SHALL BE GOVERNED BY THE
                                      3                  FEDERAL ARBITRATION ACT (“FAA”).
                                      4         A true and correct copy of TruthFinder’s Terms of Use are attached hereto
                                      5   as Exhibit N.
                                      6         21.      Before a user is able to purchase a membership for Instant Checkmate
                                      7   or TruthFinder, they must accept the Terms of Use by clicking a checkbox on the
                                      8   checkout page.
                                      9         22.      Instant Checkmate’s Limited License also provides: “Customer
                                     10   represents and warrants that all of Customer’s use of Services shall be for only
                                     11   legitimate, personal (non-business) purposes.” A true and correct copy of Instant
Gordon Rees Scully Mansukhani, LLP




                                     12   Checkmate’s Limited License is attached hereto as Exhibit O.
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13         23.      TruthFinder’s Terms of Use further provide: “Customer shall not use
                                     14   Background Information Services for commercial, collections, governmental,
                                     15   marketing, advertising or marketing purposes or resell or broker services to any
                                     16   third-party and shall only use Background Information Services for personal (non-
                                     17   business) purposes.”
                                     18         24.      After creating his account and accepting the Instant Checkmate and
                                     19   TruthFinder Terms of Use Mr. Jonkers searched for the following names and
                                     20   viewed reports for:
                                     21          Christopher Bentley on November 5, 2018, December 4, 2018, January
                                     22               24, 2019, and March 22, 2019.
                                     23          Nicholas Longo on November 6, 2018, December 4, 2018, January 24,
                                     24               2019, and March 22, 2019.
                                     25          Henry Idar III on November 5, 2018, December 4, 2018, January 24,
                                     26               2019, and March 22, 2019.
                                     27          Vincent Hardy on November 5, 2018, December 4, 2018, January 24,
                                     28               2019, and March 22, 2019.
                                                                                   -8-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
                              Case 3:19-cv-02437-DMS-RBB Document 9-9 Filed 03/11/20 PageID.266 Page 9 of 9



                                      1          Jesus Sanchez on March 22, 2019.
                                      2          Taryn Mitchell on November 5, 2018, December 4, 2018, January 24,
                                      3            2019, and March 22, 2019.
                                      4         I hereby declare under penalty of perjury under the laws of the United States
                                      5   of America that the foregoing is true and correct to the best of my information,
                                      6   knowledge and belief.
                                      7
                                      8         Executed this   12th   day of   February     ,   2020 at   San Diego   ,   California.
                                      9
                                                                                     Andrew Johnson  plication Developer,
                                     10
                                                                                     The Company LLC
                                     11
Gordon Rees Scully Mansukhani, LLP




                                     12
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13
                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                                                       -9-
                                          DECLARATION OF ANDREW JOHNSON IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                                COMPEL ARBITRATION
